              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                               1:14 cr 29-15


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )                ORDER
                                              )
TIMOTHY GARY WILSON,                          )
                                              )
                  Defendant.                  )
____________________________________          )


      THIS MATTER came on before the undersigned pursuant to a Motion to

Dismiss Count Two in Bill in Information as to Named Defendant (#245) filed by

the Government.    It appears that Defendant has been sentenced in regard to count

one as contained in the bill of information and Defendant’s plea agreement with

the Government provided that the Government would move to dismiss count two

of the bill of information.    As a result, good cause has been shown for the

granting of the motion and the motion will be allowed.

                                    ORDER

      IT IS, THEREFORE, ORDERED that the Motion to Dismiss Count Two

in Bill of Information as to Named Defendants (#245) is hereby ALLOWED and

Count Two as to the Bill of Information is DISMISSED.

                                    Signed: October 20, 2014




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